Case 8:18-cV-01144-VI\/|C-.]SS Document 1 Filed 05/10/18 Page 1 of 6 Page|D 1

UNI'I`ED S'I`A'I`ES l)ISTRICT COURT
MII)DLE DISTRIC'I` OF FI_.ORIDA

 

TAMPA DIVISION
PAMELA MAHROUCH, :_-,

Plaimirf, CASE NO. `

‘~?-'I‘S'C/v»//¢¢"r/'F 33 3'5".25

vs. .IURY TRIAL I)EMANDED
CREI)IT ONE BANK, N.A.,

l)ei`endant.

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Plaintil`l`, PAMEI.;A MAl-lROUCl'l (“Plaintii`l”), alleges the following Complaint against
Dei`endant, CREDI'I` ONE BANK, N.A. ("'I)cfendant"):

l. 'I`his is an action l`or damages f"or violations oi` the Telephone Consumer Protection
Act, 4? U.S.C. §22? et seq. (“TCPA"} and the Florida Consulner Collection Pt‘actices Act, Fla. Stat.

§§ 559.55 et seq_ ("'FCCPA¢,)_

PARTIES
2. Plaintifl" is a “consumel"’ as that term is defined by Fla. Stat. § 559.55(2).
3. Defendant is a foreign company that conducts business in Florida. Defendant has a

registered agent located in the state ot`Florida, and the actions forming the basis of this Complainl
took place at Plaint'iff" s home location in this districtl

4. Def`endant is a “pcrson” subject to regulation under Fla. Stat. § 559.72.

5. l’laintiff is the subseribcr, regular user and carrier ofthe cellular telephone number,

(813-XXX-5390), and was the called party and recipient ot`Del`endant’s autodialel‘ calls.

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Case 8:18-cV-01144-VI\/|C-.]SS Document 1 Filed 05/10/18 Page 2 of 6 Page|D 2

.lURlSl)lCTION AND VENUE
6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 t`or the
TCPA claint, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § 136?`(a), as such claims arc so closely related so as to form part of the same case or

COUU'OVCI'SY.

?. Venuc is proper in this District pursuant to 28 U.S.C. § l39l(b)(2), in that the acts

giving rise to this action occurred in this District.

 

FACTUAL ALLEGATIONS
S. Plaintit°l" allegedly incurred a consumer debt with I)ct`endant (hereinal`tcr "`Subject
Debt”).
9. 'I`he Subject Debt is considered a "‘consumer debt"" as defined by the l"CCPA, as it

constitutes an obligation l`or the payment ol` money arising out ol`a transaction in which the money
andfor services which was the subject ol` thc transaction was primarily for Plaintil`l`s’ personal,
family, or household purposes

IU. ln or around October, 201?, Plaintiff became delinquent on the Subject Debt.

l l. ln or around Novernber, 2017, Defendant began autodialing Plaintifl"s cell phone in
an attempt to collect the Subj ect Debt.

12. On multiple occasions spanning from Novcmber, 2017, to the present, Plaintit`t`
requested Det`endant to stop calling her cell phone. She explained her financial difficulties and told
Defendant that she would contact them when she could make payment. Fuither, she explained that

the continued calls were causing her extreme stress and depression

Case 8:18-cV-01144-VI\/|C-.]SS Document 1 Filed 05/10/18 Page 3 of 6 Page|D 3

13. Despite this, Del`endant continued to autodial Plaintii"t`s cell phone. As a result of
these continued collection calls, Plaintil`l`presented to her primary care physician who prescribed her
depression medication in .lanuary, 2018.

l4. l"urther, Plaintif"t`presented to her cardiologist complaining of chest pains in January,
2018. l~ler doctor ran stress tests and detennined that these collection calls were causing her
extreme stress. l'ler doctor prescribed her heart medication, as a result.

15. On April 6, 2018, Plaintit`t` sent a letter to Defendant to stop the calls. See Exhibit

16. Despite this letter, Deli`endant has continued to call Plaintil`l"s cell phone in an
attempt to collect the Subject Debt.

l?. Dcf`endant has a corporate policy to use an Automatic Telephone Dialing System (as
defined by the 'I`CPA) and has numerous other federal lawsuits pending against them alleging
similar violations and t`acts as stated in this complaint

18. l)espite Plaintiff informing Def`endant for her reason of non-payment towards the
Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject cht_. the
Defendant continued its el`l`otts to try and collect the Subject Debt l`rom Plaintil`l`. As a result,
Defcndant’s subsequent attempts to persuade Plaintift` were made with the intent to simply exhaust
Plaintifl"s will and harass Plaintit`f.

19. T he above-referenced conduct Was a willful attempt by Del`endant to engage in
conduct which was reasonably expected to abuse or harass PIaintil`f.

20. Del"endant’s conduct has caused Plaintit`t`to suffer injuries in l"act through significant

anxiety, chest pains, depression, emotional distress, frustration, and anger.

Case 8:18-cV-01144-VI\/|C-.]SS Document 1 Filed 05/10/18 Page 4 of 6 Page|D 4

2|. By effectuating these unlawful phone calls, Det`endant has caused Plaintiff the very
harm that Congress sought to prcvent_namely, a "nuisance and invasion of privacy."

22. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintit`t" s rights and interests in her cellular telephone and cellular telephone line, by intruding
upon Plaintifl"s seclusion.

23. Defcndant’s phone calls hanned l’laintiff by wasting her time.

24. Moreovcr, "wire[ess customers [like Plaintiff_| are charged for incoming calls
whether they pay in advance or after thc minutes are used." ln re: Rules lmplcmenting the TCPA of
1991, 23 FCC Rcd 559, 562 (2007). I)efendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider

COUNT I

VIOLA'I`IONS OF 'I`HE TIELIBPI'IONIB COMSUMER PROTECTION ACT
47 U.S.C. § 227 er seq.

25. Plaintif f incorporates by reference paragraphs l through 24 of this Complaint as
though fully stated herein.

26. lt is a violation of the 'l`Cl’A to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any
automatic telephone dialing system or an artilicial or prerecorded voice to any telephone
number assigned to a cellular telephone service ...” 47 U.S.C. § 22?(b)(l)(A)(iii).

2?`. 'l`hc Det`cndant placed non-emergency telephone calls to Plaintift"s cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without

Plaintil`Fs consent in violation 01`4? U.S.C. § 22?(b)(l)(A)(iii).

Case 8:18-cV-01144-VI\/|C-.]SS Document 1 Filed 05/10/18 Page 5 of 6 Page|D 5

23. l’laintiti" revoked any prior express consent Defendant had to call Plaintiff"s cellular
telephone number. As such, the Defendant’s calls were willful or knowing See 4? U.S.C. §
312([)(]).

29. As a result of the Defendant"s conduct and pursuant to Scction 22?(b)(3) of the
'l`CPA, l)laintiff was harmed and is entitled to a minimum of $500 in damages for each violation.

30. Because the Defendant knew that Plaintif f had revoked prior express consent to
receive their autodialed and prerecorded voice calls to his cellular telephone - and for willfully
used an automatic telephone dialing system andfor prerecordcd voice message to call l’laintill`s
cellular telephone without prior express consent - Plaintiff requests the Court to treble the amount
of statutory damages available to Plaintill` pursuant to 4? U.S.C. § 227(b)(3).

WI~IIEREFORE, Plaintiff demandsjudgment against the Def`cndant for damages, costs, and
such further relief as this Court deems just and proper.

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VIOLATIONS OF THE FLORII)A CONSUMER COLLECTIONS PRACTICES
ACT FLORIDA STA'I`UTES § 559.55 er seq.

31. l’laintifl" incorporates by reference paragraphs l through 24 ol"this Complaint as
though fully stated herein.

32. 'I`he foregoing acts and omissions ot`Del"endant constitute a violation of the
FCCPA:

a. Fla. Stat. 559.72(?): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his l`amily_. or willfully engage in
other conduct which can reasonably be expected to abuse or harass the

debtor or any member of her or his l`amily.

As a result of Defendant’s violation ofthe FCCPA, pursuant to Fla. Stat. § 559.77

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Case 8:18-cV-01144-VI\/|C-.]SS Document 1 Filed 05/10/18 Page 6 of 6 Page|D 6

Plaintilf is entitled to damages in an amount up to $I,UUO.UO for violation of the FCCPA, actual

damages, plus reasonable attorneys’ fees and costs.

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WI'IEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys
l"ees, costs, and such timber relief as this Court deems just and proper.

I)EMAND FOR JURY TRIAL

Plaintifl`demands a trial by jury on all issues so triable.

sss Q/P{%

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